Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 1 of 31 PageID# 202




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


 UNITED STATES, et al.,

                           Plaintiffs,

             - against -                      Civil Action No. 1:23-cv-00108
                                              (LMB) (IDD)
 GOOGLE LLC,

                           Defendant.




        DEFENDANT GOOGLE LLC’S MEMORANDUM IN SUPPORT OF ITS
         MOTION TO TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404(a)




                                          FRESHFIELDS BRUCKHAUS
                                          DERINGER US LLP
                                          700 13th Street, NW, 10th Floor
                                          Washington, DC 20005
                                          202-777-4500

                                          Counsel for Defendant Google LLC
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 2 of 31 PageID# 203




                                                     TABLE OF CONTENTS

 TABLE OF AUTHORITIES ......................................................................................................... iii

 PRELIMINARY STATEMENT .....................................................................................................1

 BACKGROUND .............................................................................................................................4

      I. This Case and the Cases Pending in the Southern District of New York Share a Common
      Set of Facts.................................................................................................................................4

      II. The First State and Private Ad Tech Complaints Were Filed in 2020. .................................6

      III. Judge Castel Has Efficiently Directed the S.D.N.Y. Cases. ................................................8

      IV. The DOJ Files Its Own Version of the Texas Case in This Court.....................................10

 ARGUMENT .................................................................................................................................12

      I. The Analysis Under 28 U.S.C. § 1404(a) Overwhelmingly Favors Transfer. .....................12

           A. The Interest of Justice Favors Transfer. ........................................................................13

                 1. The Risk of Inconsistent Judgments Favors Transfer. .............................................15

                 2. Judicial Economy Favors Transfer. .........................................................................16

           B. The Convenience of Witnesses Favors Transfer. ..........................................................17

           C. The Convenience of the Parties Favors Transfer. .........................................................20

           D. The DOJ’s Choice of Forum Should Be Afforded Only Limited Weight. ...................22

      II. Google Is Not Seeking Consolidation Under 28 U.S.C. § 1407. ........................................23

 CONCLUSION ..............................................................................................................................24




                                                                         ii
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 3 of 31 PageID# 204




                                                TABLE OF AUTHORITIES
 Cases                                                                                                                           Page(s)

 Agilent Techs., Inc. v. Micromuse, Inc.,
   316 F. Supp. 2d 322 (E.D. Va. 2004) ...................................................................................12, 21

 A. J. Indus., Inc. v. U.S. Dist. Ct.,
   503 F.2d 384 (9th Cir. 1974) ......................................................................................................24

 Bluestone Innovations, LLC v. LG Elecs., Inc.,
   940 F. Supp. 2d 310 (E.D. Va. 2013) .........................................................................................15

 Byerson v. Equifax Info. Servs., LLC,
   467 F. Supp. 2d 627 (E.D. Va. 2006) .....................................................................................2, 13

 Cont’l Grain Co. v. The FBL-585,
  364 U.S. 19 (1960) .......................................................................................................................4

 Coors Brewing Co. v. Oak Beverage, Inc.,
  549 F. Supp. 2d 764 (E.D. Va. 2008) .........................................................................................21

 Devaney v. Google LLC,
  No. 5:20-cv-04130 (N.D. Cal.) ....................................................................................................6

 Eastman Kodak Co. of N.Y. v. S. Photo Materials Co.,
   273 U.S. 359 (1927) ...................................................................................................................12

 Ex parte Collett,
   337 U.S. 55 (1949) .....................................................................................................................23

 F.T.C. v. Cephalon, Inc.,
   551 F. Supp. 2d 21 (D.D.C. 2008) .................................................................................16, 23, 24

 F.T.C. v. Illumina, Inc.,
   2021 WL 1546542 (D.D.C. Apr. 20, 2021) ...............................................................................23

 F.T.C. v. Watson Pharm., Inc.,
   611 F. Supp. 2d 1081 (C.D. Cal. 2009) ......................................................................................24

 Gen. Tire & Rubber Co. v. Watkins,
  373 F.2d 361 (4th Cir. 1967) ......................................................................................................16

 Grand Atlas Tours v. Google LLC,
  No. 5:20-cv-03556 (N.D. Cal.) ....................................................................................................6




                                                                     iii
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 4 of 31 PageID# 205




 Hengle v. Curry,
  2018 WL 3016289 (E.D. Va. June 15, 2018) .............................................................................16

 Hoefer v. U.S. Dep’t of Commerce,
  2000 WL 890862 (N.D. Cal. June 28, 2000) .............................................................................21

 In re Google Dig. Advert. Antitrust Litig.,
   No. 1:21-md-03010 (S.D.N.Y.).......................................................................................... passim

 In re Google Dig. Advert. Antitrust Litig.,
   --- F. Supp. 3d ---, 2022 WL 4226932 (S.D.N.Y. Sept. 13, 2022)..................................... passim

 In re Google Dig. Advert. Antitrust Litig.,
   No. 5:20-cv-03556 (N.D. Cal.) ....................................................................................................6

 In re Google Dig. Publisher Antitrust Litig.,
   No. 5:20-cv-08984 (N.D. Cal.) ....................................................................................................6

 In re Mid-Atl. Toyota Antitrust Litig.,
   1982 WL 1797 (D. Md. Jan. 18, 1982) ......................................................................................24

 In re: Dig. Advert. Antitrust Litig.,
   555 F. Supp. 3d 1372 (J.P.M.L. 2021) ............................................................................... passim

 JetBlue Airways Corp. v. Helferich Pat. Licensing, LLC,
   960 F. Supp. 2d 383 (E.D.N.Y. 2013) ........................................................................................13

 LG Elecs. Inc. v. Advance Creative Comput. Corp.,
  131 F. Supp. 2d 804 (E.D. Va. 2001) .........................................................................................17

 Lycos, Inc. v. TiVo, Inc.,
   499 F. Supp. 2d 685 (E.D. Va. 2007) .........................................................................................18

 Mitcheson v. Harris,
  955 F.2d 235 (4th Cir. 1992) ......................................................................................................17

 Moore v. Sirounian,
  2020 WL 5791090 (E.D. Va. July 20, 2020) .............................................................................22

 Newbauer v. Jackson-Hewitt Tax Serv., Inc.,
   2019 WL 1398172 (E.D. Va. Mar. 28, 2019) ............................................................................21

 Original Creatine Pat. Co. v. Met-Rx USA, Inc.,
  387 F. Supp. 2d 564 (E.D. Va. 2005) .........................................................................................22

 Palaxar Grp., LLC v. Williams,
   2014 WL 2002214 (E.D. Va. May 14, 2014) .............................................................................22

                                                                  iv
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 5 of 31 PageID# 206




 Pizarro v. McDonald’s Rest.,
   2012 WL 2675442 (D.S.C. June 20, 2012) ................................................................................13

 Pragmatus AV, LLC v. Facebook, Inc.,
   769 F. Supp. 2d 991 (E.D. Va. 2011) ...............................................................................2, 12, 23

 Rsch. Automation, Inc. v. Schrader-Bridgeport Int’l, Inc.,
   626 F.3d 973 (7th Cir. 2010) ......................................................................................................13

 Samsung Elecs. Co. v. Rambus, Inc.,
   439 F. Supp. 2d 524 (E.D. Va. 2006) .........................................................................................13

 Texas v. Google LLC,
   4:20-cv-00957 (E.D. Tex.) ...........................................................................................................6

 U.S. Fidelity & Guar. Co. v. Lawrenson,
   334 F.2d 464 (4th Cir. 1964) ......................................................................................................13

 U.S. Ship Mgmt., Inc. v. Maersk Line, Ltd.,
   357 F. Supp. 2d 924 (E.D. Va. 2005) ...................................................................................17, 23

 United States v. Johnson,
  726 F.2d 1018 (4th Cir. 1984) ....................................................................................................13

 United States v. Microsemi Corp.,
  2009 WL 577491 (E.D. Va. Mar. 4, 2009) ........................................................................ passim

 United States v. Nat’l City Lines, Inc.,
  337 U.S. 78 (1949) .....................................................................................................................23

 Verizon Commc’ns Inc. v. L. Offs. of Curtis V. Trinko, LLP,
   540 U.S. 398 (2004) ...................................................................................................................15

 Williams v. Long,
  585 F. Supp. 2d 679 (D. Md. 2008) ...........................................................................................13

 Wright v. Jackson,
  505 F.2d 1229 (4th Cir. 1974) ....................................................................................................17




                                                                     v
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 6 of 31 PageID# 207




 Statutes

 15 U.S.C. § 2 ....................................................................................................................................6

 15 U.S.C. § 22 ................................................................................................................................12

 28 U.S.C. § 1404 .................................................................................................................... passim

 28 U.S.C. § 1407 .................................................................................................................... passim

 Act of April 29, 1968,
  Pub. L. No. 90-296, 82 Stat. 109 (codified as amended at 28 U.S.C. § 1407)...........................23

 Consolidated Appropriations Act, 2023,
  Pub. L. No. 117-328, 136 Stat. 4459 (2023) ........................................................................23, 24




                                                                         vi
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 7 of 31 PageID# 208




                                 PRELIMINARY STATEMENT

        The Department of Justice’s (“DOJ’s”) Complaint in this case is just another in a series of

 copycat complaints challenging the size and success of Google’s advertising technology (“ad

 tech”) business under the Sherman Antitrust Act. Only two aspects of the DOJ Complaint

 distinguish it from the many cases preceding it:

    ● First, the DOJ’s case lags far behind other pending ad tech antitrust cases. It arrives before

        this Court more than two years after a substantively identical challenge was filed by a

        coalition of State Attorneys General, led by Texas, in December 2020 (the “Texas Case”).

        And it is more than two-and-a-half years behind the first private ad tech antitrust case.

        What makes this late filing notable, however, is that it adds nothing of substance to those

        earlier-filed cases.

    ● Second, the DOJ’s case is the only ad tech challenge pending outside of the Southern

        District of New York. In August 2021, the Judicial Panel on Multidistrict Litigation

        (“JPML”) transferred all nineteen then-pending state and private ad tech antitrust cases to

        the Southern District of New York and assigned them to the Honorable P. Kevin Castel for

        coordinated or consolidated pretrial proceedings. By filing suit in another district, the DOJ

        does not merely risk the prospect of inconsistent judgments, it actively courts it.

 Pursuant to 28 U.S.C. § 1404(a), Google respectfully requests that the Court transfer this action to

 the Southern District of New York for coordination with In re Google Digital Advertising Antitrust

 Litigation (“the S.D.N.Y. Cases”), both in the interest of justice and for the convenience of the

 parties and witnesses.

                                          *         *     *




                                                    1
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 8 of 31 PageID# 209




        Section 1404(a) permits the Court, in its discretion, to transfer this case to the Southern

 District of New York for coordination with the other ad tech antitrust challenges pending there if

 it determines that “the interest of justice and convenience of the parties and witnesses justify

 transfer.” Pragmatus AV, LLC v. Facebook, Inc., 769 F. Supp. 2d 991, 994 (E.D. Va. 2011)

 (Brinkema, J.). That is so even when the case is an antitrust suit brought by the DOJ. See United

 States v. Microsemi Corp., 2009 WL 577491 (E.D. Va. Mar. 4, 2009) (granting § 1404(a) motion

 to transfer antitrust suit brought by the DOJ).

        Courts in this district consider the plaintiff’s choice of venue, the convenience of the parties

 and witnesses, and the interest of justice, where the interest of justice alone may be “dispositive.”

 See, e.g., Byerson v. Equifax Info. Servs., LLC, 467 F. Supp. 2d 627, 635-37, 637 n.7 (E.D. Va.

 2006). As to the interest of justice, the “[m]ost prominent” considerations include the risk of

 inconsistent judgments and whether the transfer would serve judicial economy. Id. at 635.

        Both of those considerations loom large here: Several sets of state and private plaintiffs

 have been litigating antitrust challenges to Google’s display advertising business for over two

 years. Those cases are being coordinated by Judge Castel in the Southern District of New York.

 The DOJ now brings this action (the “DOJ Case”) challenging the same alleged conduct, under

 the same laws, seeking the same remedies, but in a different court. The DOJ Case even shares a

 common core of pre-suit investigation materials. The judicial economies to be gained by having

 the DOJ Case before the same district court judge as the existing ad tech cases—and the attendant

 risks of inconsistent judgments if they are not managed together—overwhelmingly favor transfer.

        Moreover, the DOJ Case has no unique, meaningful ties to this forum, and—like the cases

 consolidated by the JPML—transfer to New York would be convenient for Google and for the

 industry participants likely to be witnesses. See In re: Dig. Advert. Antitrust Litig., 555 F. Supp.



                                                   2
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 9 of 31 PageID# 210




 3d 1372, 1375 (J.P.M.L. 2021) (“[C]entralization in the Southern District of New York will serve

 the convenience of the parties and witnesses[.]”).

        While the multidistrict litigation (“MDL”) statute, 28 U.S.C. § 1407, does not apply to this

 case, the findings of the JPML squarely address many of the issues now before the Court under

 § 1404(a). The JPML consolidated the cases underlying In re: Digital Advertising Antitrust

 Litigation because each of those actions—just like the DOJ Case—“present common factual

 questions concerning the allegation that Google has monopolized or suppressed competition in

 online display advertising services in violation of federal antitrust law, whether that market is

 described singly as all display advertising services, as components of display advertising, or as

 some larger spectrum of digital advertising.” In re: Dig. Advert. Antitrust Litig., 555 F. Supp. 3d

 at 1375. Common factual issues found by the JPML included (1) “defining the relevant market;”

 (2) “identifying the competitors in the market;” (3) “the design and operation of Google’s ad tech

 products and services;” (4) “assessing the alleged anticompetitive effects of Google’s conduct;”

 (5) “Google’s response to a competitive threat to its ad exchange known as ‘header bidding;’”

 (6) “Google’s acquisitions of other digital ad tech companies;” and (7) “alleged tying arrangements

 between, inter alia, Google’s publisher ad server and Google’s ad exchange.” Id. As detailed

 below, each and every one of these common factual issues is not only included in, but is core to,

 the DOJ’s Complaint here. Infra at 10-12, 14-15. Likewise, the DOJ and the S.D.N.Y. plaintiffs

 seek the same relief: damages, as well as injunctive and structural remedies aimed at the divestiture

 of portions of Google’s ad tech business. Infra at 10 note 25, 15.

        In the nearly eighteen months since consolidation, Judge Castel has imposed a procedural

 framework on this sprawling litigation. Following that framework, he has ruled on the Rule 12

 sufficiency of the parties’ federal antitrust claims (which are the same as those raised by the DOJ



                                                  3
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 10 of 31 PageID# 211




  here). Having dismissed certain of Texas’ federal antitrust claims, Judge Castel has permitted the

  parties to begin fact discovery while he addresses Google’s motions to dismiss other plaintiffs’

  claims. And to put all plaintiffs on equal footing, one of the first actions Judge Castel took was to

  order Google to produce the roughly two million documents it had previously produced to the DOJ

  and Texas to all the private S.D.N.Y. plaintiffs, meaning that already the DOJ and the S.D.N.Y.

  plaintiffs are operating with a common core set of documents (and the S.D.N.Y. plaintiffs have

  requested all documents produced to the DOJ since then, too).

           In response to this motion, the DOJ presumably will explain why it chose to launch a

  parallel, competing ad tech litigation challenging the same conduct, under the same law, seeking

  the same relief in a different court. But the Supreme Court held long ago that “[t]o permit a

  situation in which two cases involving precisely the same issues are simultaneously pending in

  different District Courts leads to the wastefulness of time, energy and money that 28 U.S.C.

  § 1404(a) was designed to prevent.” Cont’l Grain Co. v. The FBL-585, 364 U.S. 19, 26 (1960).

  And the DOJ’s choice of forum cannot trump the interest of justice and considerations of

  convenience that clearly dictate that this case should be transferred to the district in which it should

  have been filed in the first place, the Southern District of New York.

                                            BACKGROUND

      I.   This Case and the Cases Pending in the Southern District of New York Share a
           Common Set of Facts.
           In September 2019, the attorneys general of forty-eight States, the District of Columbia,

  and Puerto Rico announced an investigation into Google’s ad tech business, led by Texas Attorney

  General Ken Paxton.1 At the same time, the DOJ opened its own antitrust investigation into


  1
    See Harper Neidig, 50 attorneys general launch antitrust investigation into Google, The Hill
  (Sept. 9, 2019), https://thehill.com/policy/technology/460550-states-launch-antitrust-
  investigation-into-google/.
                                                     4
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 11 of 31 PageID# 212




  Google’s ad tech business.2 In October 2019, the DOJ issued a Civil Investigative Demand to

  Google calling for production of documents relating to Google’s ad tech business, along with a

  host of other topics.

         These two investigations of the same Google ad tech business proceeded in parallel. The

  DOJ and Texas both made expansive requests for production of documents concerning Google’s

  ad tech. These covered Google’s ad tech strategy and product offerings, use of data, responses to

  competitive threats in the ad tech space, acquisitions in the ad tech space, and Google’s Network

  Bidding Agreement with Facebook. As these investigations proceeded, Google gave Texas access

  to roughly two million documents that the DOJ had assembled,3 and, prior to filing suit, Texas

  participated in the DOJ’s depositions of Google ad tech witnesses.4            In addition to both

  investigations following from the same factual basis, Texas Attorney General Ken Paxton met with

  top DOJ officials at least once, in February 2020, to discuss their parallel investigations and share

  their views on Google’s ad tech business.5




  2
    Sara Forden & David McLaughlin, DOJ Scrutinizes Google Advertising, Search in Antitrust
  Probe, Bloomberg Law (Aug. 8, 2019),
  https://www.bloomberglaw.com/bloomberglawnews/antitrust/XF6V15CS000000.
  3
    See Letter from J. Sessions to Castel, J., In re Google Dig. Advert. Antitrust Litig., No. 1:21-
  md-03010 (S.D.N.Y. Oct. 13, 2021), ECF No. 145 (“Google . . . produced 2 million documents
  to the State of Texas” which “includes documents that Google produced to the Department of
  Justice in addition to the approximately 152,000 documents that Google produced in response to
  the Texas AG’s civil investigative demand (CID) concerning ad tech issues.”).
  4
    The DOJ deposed eleven Google employees prior to December 16, 2020 (when the Texas Case
  was filed) as part of its ad tech investigation. The Office of the Texas Attorney General attended
  ten of those depositions, and other investigating states (members of the Tennessee and Nebraska
  attorney general’s offices) attended the eleventh deposition.
  5
    Jon Porter, Google’s US antitrust worries could be entering a more serious phase: State
  attorneys general are reportedly meeting with the Justice Department, The Verge (Jan. 27,
  2020), https://www.theverge.com/2020/1/27/21083341/google-antitrust-state-investigation-
  federal-attorneys-general-justice-department (“At least seven state attorneys general are meeting
  with US Justice Department attorneys next week in what could be the first step toward the two
  groups working together to investigate Google.”).
                                                   5
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 12 of 31 PageID# 213




      II.   The First State and Private Ad Tech Complaints Were Filed in 2020.

            In May 2020, a group of advertisers filed a putative class action in the Northern District of

  California, challenging the size and success of Google’s ad tech business under Section 2 of the

  Sherman Antitrust Act, 15 U.S.C. § 2, and seeking damages for alleged overcharges under the

  same theories advanced by the DOJ in this case.6 In June 2020, another set of advertisers sued,

  challenging the same conduct and advancing the same theories of harm.7 In addition, from

  December 15, 2020, to February 2, 2021, a number of private class action suits were filed by

  publisher plaintiffs. The Northern District of California consolidated the advertiser suits as In re

  Google Digital Advertising Antitrust Litigation8 and the publisher suits as In re Google Digital

  Publisher Antitrust Litigation.9 In all, in the twelve months following the filing of the first ad tech

  complaint in May 2020, some eighteen additional copycat actions were filed by different groups

  of private publisher, advertiser, and newspaper plaintiffs across the country.10

            During that same period, on December 16, 2020, Texas and a coalition of nine other state

  attorneys general filed the Texas Case in the Eastern District of Texas.11 Additional states have

  since joined, and the States’ operative Third Amended Complaint now includes seventeen state

  plaintiffs.12


  6
    Class Action Compl., Grand Atlas Tours v. Google LLC, No. 5:20-cv-03556 (N.D. Cal. May
  27, 2020), ECF No. 1.
  7
    Class Action Compl., Devaney v. Google LLC, No. 5:20-cv-04130 (N.D. Cal. June 22, 2020),
  ECF No. 1.
  8
    Joint Stipulation & Order for Consolidation & Setting Deadlines, In re Google Dig. Advert.
  Antitrust Litig., No. 5:20-cv-03556 (N.D. Cal. Aug. 11, 2020), ECF No. 26.
  9
    Order Consolidating Cases, In re Google Dig. Publisher Antitrust Litig., No. 5:20-cv-08984
  (N.D. Cal. Mar. 10, 2021), ECF No. 49.
  10
     See Mem. in Support of Google Defs.’ Mot. for Transfer & Centralization Pursuant to 28
  U.S.C. § 1407 at 3-8, In re: Dig. Advert. Antitrust Litig., MDL No. 3010 (J.P.M.L. Apr. 30,
  2021), ECF No. 1-1.
  11
     Compl., Texas v. Google LLC, No. 4:20-cv-00957 (E.D. Tex. Dec. 16, 2020), ECF No. 1.
  12
     See Third Am. Compl., In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010
  (S.D.N.Y. Jan. 14, 2022), ECF No. 195 [hereinafter “Texas TAC”].
                                                     6
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 13 of 31 PageID# 214




            On April 30, 2021, Google moved under 28 U.S.C. § 1407 to centralize the nineteen ad

  tech antitrust actions pending in sixteen judicial districts across the United States.13 In August

  2021, the JPML created MDL No. 3010 (renamed In re Google Digital Advertising Antitrust

  Litigation) and centralized those nineteen actions in the Southern District of New York for pretrial

  coordination. In re: Dig. Advert. Antitrust Litig., 555 F. Supp. 3d. at 1380. The JPML placed the

  S.D.N.Y. Cases under the supervision of Senior District Judge P. Kevin Castel because of their

  “confiden[ce] that [Judge Castel] will steer [the] litigation on a prudent course” given his proven

  “willingness and ability to manage . . . litigation efficiently.” Id.

            The JPML’s decision was based on its findings that:

            [T]hese actions involve common questions of fact, and that centralization in the
            Southern District of New York will serve the convenience of the parties and
            witnesses and promote the just and efficient conduct of this litigation. All actions
            present common factual questions concerning the allegation that Google has
            monopolized or suppressed competition in online display advertising services in
            violation of federal antitrust law, whether that market is described singly as all
            display advertising services, as components of display advertising, or as some
            larger spectrum of digital advertising. Common factual issues in all actions include:
            (1) defining the relevant market for online display advertising services; (2)
            identifying the competitors in the market and their market shares; (3) the design
            and operation of Google’s ad tech products and services, including alleged barriers
            to interoperability with competitors’ products; (4) assessing the alleged
            anticompetitive effects of Google’s conduct on market participants; and (5)
            Google’s response to a competitive threat to its ad exchange known as “header
            bidding,” which allegedly enabled publishers to use non-Google exchanges more
            effectively. Moreover, the 17 actions asserting Section 2 monopolization claims
            raise additional common factual questions, principally (1) Google’s acquisitions of
            other digital ad tech companies, such as DoubleClick, and the competitive impacts
            of those acquisitions; and (2) alleged tying arrangements between, inter alia,
            Google’s publisher ad server and Google’s ad exchange. Sixteen of the 19 actions
            additionally assert that Google and alleged competitor Facebook entered into a
            secret agreement in 2018 to suppress the alleged “header bidding” threat to
            Google’s market position.
  Id. at 1375. On the basis of those findings, the JPML concluded that:



  13
       See supra note 10.
                                                     7
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 14 of 31 PageID# 215




         Centralization will promote the just and efficient conduct of the litigation by
         eliminating duplicative discovery and avoiding the risk of inconsistent rulings on
         pretrial matters, particularly on discovery disputes, Daubert issues, and dispositive
         motions. All actions, whether brought as putative class actions, individual actions,
         or governmental actions, will require common discovery from Google, which is the
         principal and common defendant. In addition, all cases will require discovery from
         Facebook because of the questions surrounding Facebook’s status as a competitor;
         in at least 16 actions, discovery also will cover the Google-Facebook agreement.
         Third-party discovery will be significant, as the record indicates that there will be
         discovery concerning other alleged competitors, such as Amazon, as well as
         federal, state, and international investigations into Google’s online display
         advertising practices. Few of the actions have commenced discovery, and those
         that have done so remain at a preliminary stage, making now an optimal time to
         structure the litigation to maximize efficiencies.
  Id. at 1375-76.

  III.   Judge Castel Has Efficiently Directed the S.D.N.Y. Cases.

         The S.D.N.Y. Cases have marched forward under the supervision of Judge Castel. Soon

  after consolidation, Judge Castel established a process for evaluating the sufficiency of the parties’

  claims, addressing Texas’ federal antitrust claims first, before addressing the private plaintiffs’

  federal antitrust claims, and then all plaintiffs’ state law claims.14 In a comprehensive ninety-two

  page opinion, Judge Castel dismissed Texas’ claim of a conspiratorial agreement between Google

  and Facebook and narrowed the Section 2 claims, pruning many allegations as implausibly

  anticompetitive.15 In doing so, Judge Castel emphasized repeatedly his obligation under Rule




  14
     Pre-Trial Order No. 1, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010
  (S.D.N.Y. Aug. 13, 2021), ECF No. 4.
  15
     In re Google Digital Advertising Antitrust Litigation, --- F. Supp. 3d ---, 2022 WL 4226932
  (S.D.N.Y. Sept. 13, 2022); see id. at *12-18 (dismissing Facebook agreement), *22-24
  (dismissing encryption of user IDs), *30-32 (dismissing Reserve Price Optimization), *32-34
  (dismissing Exchange Bidding), *36-37 (dismissing Accelerated Mobile Pages), *37-38 (Privacy
  Sandbox claims not yet ripe), *40-41 (dismissing injunctive relief for Dynamic Allocation and
  Dynamic Revenue Share), *25-30 (finding Dynamic Allocation, Enhanced Dynamic Allocation,
  and Dynamic Revenue Share each were not plausibly anticompetitive in the publisher ad server
  or advertising buying tools markets).
                                                    8
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 15 of 31 PageID# 216




  12(b)(6) to accept Texas’ allegations as true,16 but observed that “[e]xperience teaches that cases

  often look very different when evidence from both sides is considered.”17

         After ruling on Google’s motion to dismiss Texas’ federal antitrust claims, Judge Castel

  allowed private plaintiffs to amend their complaints (encouraging that their amendments conform

  to his motion to dismiss opinion), and set a briefing schedule (concluding in March 2023) for

  Google to seek dismissal of any “nonconforming” claims.18

         Judge Castel has also created an efficient and fast-moving structure for discovery. Over a

  year ago, in November 2021, he ordered Google to produce “the documents that [had] been

  produced by Google to the state of Texas” in its investigation—the same two million or so

  documents Google had produced to the DOJ and made available to Texas and the other states—so

  that all S.D.N.Y. plaintiffs have equal access to all documents.19 He has ordered that each witness

  shall be deposed only once, that all of the S.D.N.Y. plaintiffs must coordinate their discovery

  efforts, and that all discovery be shared across the actions in the S.D.N.Y. Cases.20 And he has

  ordered the parties to substantially complete their production of documents responsive to initial


  16
     See id. at *3, *9, *11 n.8, *24, *28, *31, *32, and *35.
  17
     Id. at *3.
  18
     Pre-Trial Order No. 2, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010
  (S.D.N.Y. Sept. 14, 2022), ECF No. 309; Pretrial Order No. 4, In re Google Dig. Advert.
  Antitrust Litig., No. 1:21-md-03010 (S.D.N.Y. Nov. 18, 2022), ECF No. 392.
  19
     Tr. of Conference at 30:16-21, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010
  (S.D.N.Y. Oct. 12, 2021), ECF No. 142; see also Order, In re Google Dig. Advert. Antitrust
  Litig., No. 1:21-md-03010 (S.D.N.Y. Nov. 5, 2021), ECF No. 168. The S.D.N.Y. plaintiffs have
  since requested in discovery that Google produce all documents it produced to the DOJ. See
  Letter from E. Mahr to Castel, J. at 2, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-
  03010 (S.D.N.Y. Feb. 1, 2023), ECF No. 441 (discussing Request No. 274).
  20
     Pre-Trial Order No. 5 ¶ 6.7, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010
  (S.D.N.Y. Nov. 21, 2022), ECF No. 394 [hereinafter “PTO No. 5”] (“Duplicative questioning of
  witnesses is not permitted and, absent a finding of good cause by the Court, no fact witness may
  be examined more than once.”); Pre-Trial Order No. 3 ¶ 3, In re Google Dig. Advert. Antitrust
  Litig., No. 1:21-md-03010 (S.D.N.Y. Sept. 16, 2022), ECF No. 311 (directing the plaintiffs’
  Discovery Steering Committee to “draft a common set of Rule 34 requests and common set of
  interrogatories . . . and a common set of non-party discovery requests”).
                                                  9
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 16 of 31 PageID# 217




  requests within four months (by the end of May 2023).21 Given that fact discovery just began in

  January 2023, and will remain open until June 2024, the DOJ Case is well-positioned to be folded

  into Judge Castel’s discovery timeline.22

  IV.    The DOJ Files Its Own Version of the Texas Case in This Court.

         On January 24, 2023—more than two years after the Texas Case was filed, and more than

  17 months after it was centralized with the other S.D.N.Y. Cases—the DOJ and eight states filed

  suit in this Court.23 Like the Texas Case and the other S.D.N.Y. Cases, the DOJ Case alleges that

  Google violated the Sherman Act by monopolizing the markets for publisher ad servers, ad

  exchanges, and ad buying tools.24 The DOJ’s assertions of allegedly anticompetitive conduct

  mirror the conduct alleged in the Texas Case and the other S.D.N.Y. Cases, see infra at 14, as does

  the relief sought by the DOJ.25

         Judge Castel’s motion to dismiss (“MTD”) Opinion reveals that the allegations at issue in

  the Texas Case are essentially the same as those now presented to this Court. For example, the

  table below compares the DOJ’s allegations concerning the tying of Google ad server (known as



  21
     PTO No. 5 ¶ 6.1.
  22
     See id. ¶¶ 4-6.
  23
     Compl., ECF No. 1 [hereinafter “DOJ Compl.”].
  24
     Id. ¶¶ 310-41. Ad buying tools for small advertisers are termed “advertiser ad networks” in
  the DOJ Complaint. Compare Texas TAC ¶¶ 161-86, with DOJ Compl. ¶¶ 297-303.
  25
     Compare DOJ Compl. ¶ 342(6) (seeking “the divestiture of, at minimum, the Google Ad
  Manager suite, including both Google’s publisher ad server, DFP, and Google’s ad exchange,
  AdX, along with any additional structural relief as needed to cure any anticompetitive harm”),
  with Texas TAC ¶ 683(d) (seeking “structural relief to restore competitive conditions in the
  relevant markets”) and First Am. Consol. Class Action Compl. ¶ 423(D), In re Google Dig.
  Advert. Antitrust Litig., No. 1:21-md-03010 (S.D.N.Y. Dec. 5, 2022), ECF No. 408 [hereinafter
  “Publisher Compl.”] (seeking “[t]hat the Court order Defendants to fully divest their publisher
  Ad Server line of business”). And, like the S.D.N.Y. advertiser class plaintiffs, the DOJ is
  seeking damages on behalf of itself (the United States) as an injured buyer of web display
  advertising. Compare DOJ Compl. ¶ 341, with Consol. Advertiser Class Action Compl. ¶¶ 302,
  406(D), In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010 (S.D.N.Y. Dec. 2, 2022),
  ECF No. 399 [hereinafter “Advertiser Compl.”].
                                                  10
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 17 of 31 PageID# 218




  DoubleClick for Publishers, or “DFP”) to Google’s ad exchange (“AdX”) with Judge Castel’s

  analysis of the parallel claim in the Texas Case:

          DOJ Complaint: Tying Claim                          MTD Opinion: Tying Claim
    ● “Google coerce[d] publishers to license          ● Google “coerc[ed]” publishers by “only
      DFP” in order to “access real-time                 allowing publishers that license [DFP] to
      competition between AdX and other                  receive live . . . bids from AdX.” In re
      demand sources.” DOJ Compl. ¶ 338.                 Google Dig. Advert. Antitrust Litig., 2022
                                                         WL 4226932, at *11.
    ● DFP is “[t]he only viable economic               ● “[P]ublishers’ revenue would decline by
      option for many publishers.” Id.                   between 20% and 40%” if they did not use
                                                         DFP. Id.

         To take another example, the DOJ’s allegations concerning a specific ad tech product

  design known as “Dynamic Allocation” closely mirror those same issues in the Texas Case:

      DOJ Complaint: Dynamic Allocation                  MTD Opinion: Dynamic Allocation
    ● Gave AdX a “‘first look’” at inventory.          ● Gave AdX “a right of first refusal.” In re
      DOJ Compl. ¶ 114.                                  Google Dig. Advert. Antitrust Litig., 2022
                                                         WL 4226932, at *24.
    ● Used Google’s superior access to data to         ● Used exclusive “information obtained
      advantage AdX by allowing AdX to win               through its DFP ad server” to allow AdX
      if it could beat the “highest average price        to win if it “return[ed] a live bid for just a
      of a rival ad exchange.” Id. ¶ 115.                penny more” than the highest of rivals’
                                                         “average historical bids.” Id. at *24-25.
    ● “[D]ivert[ed] bidding opportunities and          ● “Guarantee[d] that transactions were
      transactions to Google’s ad exchange and           made on AdX” as opposed to “rivals of
      away from rivals who did not have a                AdX [who] never had the opportunity to
      chance to compete at all or to compete on          receive bids.” Id. at *25.
      the same terms.” Id. ¶ 117.
    ● Effect was AdX “win[ning] high-value             ● Effect was “wall[ing] off exchange
      impressions without paying the price               competition” over a publisher’s “more
      advertisers on other ad exchanges were             valuable impressions” from rival
      actually willing to pay.” Id. ¶ 115.               exchanges that “might have returned a
                                                         higher bid” than AdX. Id. at *24-25.

         The DOJ Case filed in this Court is strikingly similar to the Texas Case (and the other

  S.D.N.Y. Cases). They allege the same facts, relevant markets, and claims, and seek the same

  relief. They stem from investigations into Google’s alleged conduct in the same industry and share


                                                  11
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 18 of 31 PageID# 219




  the same factual nucleus of shared documents. And they will implicate the same or similar

  documents, data, party witnesses, and third parties as they progress through discovery.

                                           ARGUMENT

       I. The Analysis Under 28 U.S.C. § 1404(a) Overwhelmingly Favors Transfer.

          Under 28 U.S.C. § 1404(a), the Court may, in its discretion, transfer “any civil action to

  any other district or division where it might have been brought.” The DOJ could have brought this

  case in the Southern District of New York, where the other cases regarding Google’s ad tech

  business are pending,26 and where Google maintains and runs its ad tech business. See Reshetar

  Decl. ¶¶ 3-4.27   The only relevant question, then, is “‘whether the interest of justice and

  convenience of the parties and witnesses justify transfer.’” Pragmatus, 769 F. Supp. 2d at 994

  (quoting Agilent Techs., Inc. v. Micromuse, Inc., 316 F. Supp. 2d 322, 324-25 (E.D. Va. 2004)).

  To address that question, the Court weighs: “(1) plaintiff’s choice of forum, (2) convenience of

  the parties, (3) witness convenience and access, and (4) the interest of justice.” Pragmatus, 769

  F. Supp. 2d at 994-95.

          The interest of justice—and one of its most important components, the risk of inconsistent

  judgments—is dispositive here. Even if that were not so, the convenience of witnesses and the

  parties also weigh decisively in favor of transfer because most have a connection to the Southern

  District of New York while very few have any connection to this forum. See infra at 17-22. The

  only factor which arguably weighs in the DOJ’s favor is their choice of forum. But that choice is



  26
     DOJ alleges (correctly) that Google transacts business throughout the country, DOJ Compl.
  ¶ 309, making the Southern District of New York a proper venue under the antitrust laws. 15
  U.S.C. § 22; see Eastman Kodak Co. of N.Y. v. S. Photo Materials Co., 273 U.S. 359, 372-73
  (1927). And as the S.D.N.Y. Cases illustrate, Google is subject to personal jurisdiction in
  Manhattan for nearly identical claims.
  27
     In support of its Motion, Google submits the Declaration of Yvonne Reshetar, dated February
  17, 2023 (the “Reshetar Decl.”).
                                                  12
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 19 of 31 PageID# 220




  not entitled to substantial deference “when the controversy itself had no meaningful ties to that

  forum.” Microsemi, 2009 WL 577491, at *7.

         In weighing these factors, the Court may take judicial notice of the proceedings before

  Judge Castel28 and the location of likely non-party witnesses named in the DOJ Case.29 The Court

  may also rely upon the evidence set forth in the Reshetar Declaration filed contemporaneously

  with this Motion, supra note 27.

             A. The Interest of Justice Favors Transfer.
         Of the factors to be weighed in the transfer analysis, the “interest of justice” alone can be

  “the dispositive consideration in the transfer calculus.” Byerson, 467 F. Supp. 2d at 635, 637 n.7.30

  The core considerations under this factor are the risk of inconsistent judgments and whether the

  transfer would serve judicial economy. Id. at 635. Both weigh heavily in favor of transfer here

  because the S.D.N.Y. Cases and the DOJ Case are essentially the same.

         At the heart of the S.D.N.Y. Cases and the DOJ Case are allegations that Google has

  violated Section 2 of the Sherman Act by monopolizing the same relevant markets and pointing to


  28
     “[T]he Fourth Circuit has held that it is appropriate for courts to take judicial notice of [other
  courts’] records, upon considerations of efficiency and justice, where the prior case is brought
  into the pleadings or where the two cases represent related litigation.” Samsung Elecs. Co. v.
  Rambus, Inc., 439 F. Supp. 2d 524, 537 n.7 (E.D. Va. 2006) (citing U.S. Fidelity & Guar. Co. v.
  Lawrenson, 334 F.2d 464, 467 (4th Cir. 1964)), vacated on other grounds, 523 F.3d 1374 (Fed.
  Cir. 2008).
  29
     “Geographical information is especially appropriate for judicial notice.” United States v.
  Johnson, 726 F.2d 1018, 1021 (4th Cir. 1984). Courts likewise find postings on government
  websites as “inherently authentic.” Williams v. Long, 585 F. Supp. 2d 679, 687-89 (D. Md.
  2008); see also Pizarro v. McDonald’s Rest., 2012 WL 2675442, at *4 n.3 (D.S.C. June 20,
  2012) (taking judicial notice of corporate filings to state government agency).
  30
     See also Rsch. Automation, Inc. v. Schrader-Bridgeport Int’l, Inc., 626 F.3d 973, 978 (7th Cir.
  2010) (“The interest of justice may be determinative, warranting transfer or its denial even where
  the convenience of the parties and witnesses points toward the opposite result.”); JetBlue
  Airways Corp. v. Helferich Pat. Licensing, LLC, 960 F. Supp. 2d 383, 400 (E.D.N.Y. 2013)
  (“Issues of judicial economy and avoiding inconsistent results in related actions can be
  ‘decisive,’ even when ‘most [other] factors would ordinarily sustain a plaintiff’s choice of
  forum.’” (citation omitted)).
                                                   13
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 20 of 31 PageID# 221




  nearly identical categories of alleged conduct. Like the S.D.N.Y. Cases, the DOJ Case alleges that

  the relevant markets are various components of the ad tech stack—publisher ad servers, ad

  exchanges, and ad buying tools.31     We summarize the commonalities between the conduct

  challenged by the DOJ Case and the S.D.N.Y. Cases in the table below.

  Anticompetitive         DOJ
                                      Texas     Publisher Advertiser Newspaper Daily Mail
 Conduct Alleged in      Compl.
                                     TAC ¶¶     Compl. ¶¶ Compl. ¶¶ Compl. ¶¶ Compl. ¶¶
   DOJ Compl.              ¶¶
 Acquisition of
                         79-84, 88      19         94-98       167-171          --            --
 DoubleClick (2008)
 Restriction of Google                           165-167,
                          89-103     248-250                    78, 89          --          92-93
 Ads bids to AdX                                   202
 Restriction of live     104-108,                199-204,
                                     246-252                      --         259-267       95-101
 AdX bids to DFP         154-160                 226-230
                         113-119,                                           199-208,       42-44,
 Dynamic Allocation                  267-281     252-268       201-208
                         121-125                                              220          47-48
 “Last Look”             164, 200    376-378          264         --           225        114-124
 Acquisition of           87-88,
                                        56         97-98       167-171          --            --
 AdMeld (2011)           146-153
 Project Bell            161-162       311       282-285       224-228       233-234      136-137
 Dynamic Revenue
                         198-207     318-330     286-295       229-238       235-239      139-146
 Share
                                                 315-318,      267-270,                   171-173,
 Project Poirot          208-230     395-402                                 244-248
                                                 322-323       273-274                      176
 Unified Pricing Rules   231-247     451-469     324-331       254-266       249-256      188-200




  31
    Compare DOJ Compl. ¶ 279 (publisher ad servers, ad exchanges, and advertiser ad networks),
  with Texas TAC ¶ 92 (including all three products), Publisher Compl. ¶¶ 112, 125 (same), Am.
  Compl. ¶ 176, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010 (S.D.N.Y. Dec. 2,
  2022), ECF No. 401 [hereinafter “Newspaper Compl.”] (including two: publisher ad servers and
  ad exchanges), Am. Compl. ¶¶ 55, 67, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-
  03010 (S.D.N.Y. Dec. 2, 2022), ECF No. 400 [hereinafter “Daily Mail Compl.”] (same), and
  Advertiser Compl. ¶ 54 (including two: ad exchanges and ad buying tools); see also supra note
  24 (the DOJ refers to ad buying tools for small advertisers as “advertiser ad networks”).
                                                 14
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 21 of 31 PageID# 222




          The parallels between these suits further extend to the relief sought. Both the S.D.N.Y.

  Cases and the DOJ Case seek damages, as well as declaratory, injunctive, and structural relief

  related to Google’s ad tech business. Compare Texas TAC ¶ 683(a)-(d), Publisher Compl. ¶ 423

  (B)-(E), (H), Advertiser Compl. ¶ 406 (C), (D), (F), Newspaper Compl. ¶ 117 (B), (C), (F), and

  Daily Mail Compl. ¶ 274 (a)-(e), with DOJ Compl. ¶ 342(1)-(4), (6), (7). Moreover, if any of that

  injunctive or classwide relief were granted, it would have nationwide effect, further exacerbating

  the prospect of conflicting or inconsistent judgments.

                      1. The Risk of Inconsistent Judgments Favors Transfer.
          Given these similarities, the DOJ’s choice of venue creates the serious risk of inconsistent

  judgments. See Bluestone Innovations, LLC v. LG Elecs., Inc., 940 F. Supp. 2d 310, 320 (E.D.

  Va. 2013) (“[T]rying these cases separately creates the serious risk of inconsistent results. . . . Even

  if this were the only factor in favor of transfer it might be sufficiently weighty to justify transferring

  these actions.”).

          At issue in both cases is the market definition in the same industry, for the same time

  period, and for the same products. Also at issue is the correct application of the same antitrust

  laws to the same conduct by the same defendant. The risk of inconsistent judgments is further

  heightened here because Section 2 features few bright-line rules; instead, even “[u]nder the best

  of circumstances, applying the requirements of § 2 ‘can be difficult’ because ‘the means of illicit

  exclusion, like the means of legitimate competition, are myriad.’” Verizon Commc’ns Inc. v. L.

  Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 414 (2004) (citation omitted). And inconsistencies

  resulting in “false condemnations ‘are especially costly, because they chill the very conduct the

  antitrust laws are designed to protect.’” Id. (citation omitted).

          The risk of inconsistent judgments is not just limited to the application of antitrust law.

  Judge Castel has already issued rulings regarding the application of the attorney-client privilege

                                                     15
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 22 of 31 PageID# 223




  and attorney work product doctrine to documents produced to the DOJ during its investigation that

  were reproduced to Texas and to the private plaintiffs in the S.D.N.Y. Cases.32 The JPML

  specifically considered “the risk of inconsistent rulings on pretrial matters, particularly on

  discovery disputes, Daubert issues, and dispositive motions,” In re: Dig. Advert. Antitrust Litig.,

  555 F. Supp. 3d at 1375, and held that “informal coordination appears inadequate to address the

  risk of inconsistent rulings in this factually and legally complex litigation,” id. at 1376-77.

         Further, should Google need to appeal conflicting court orders, doing so would necessitate

  seeking relief in both the Second and Fourth Circuits and may ultimately lead to a circuit split—

  hardly an efficient or economic result. “There is ample authority to support the conclusion that

  the interest of justice dictates that transfer is appropriate to avoid subjecting a defendant to the

  grave risk of inconsistent judgments deriving from the same conduct.” F.T.C. v. Cephalon, Inc.,

  551 F. Supp. 2d 21, 29 (D.D.C. 2008); see also Hengle v. Curry, 2018 WL 3016289, at *11 (E.D.

  Va. June 15, 2018) (“Allowing related cases to proceed simultaneously on separate tracks creates

  a ‘prospect of inconsistent outcomes’ that does not exist when the same court manages both

  cases. . . . ‘The interest of justice weighs heavily in favor of transfer when related actions are

  pending in the transferee forum.’” (citations omitted)).

                     2. Judicial Economy Favors Transfer.
         In addition to risking inconsistent results, proceeding in this district invites an

  “extravagantly wasteful and useless duplication of the time and effort of the federal courts.” Gen.

  Tire & Rubber Co. v. Watkins, 373 F.2d 361, 362 (4th Cir. 1967) (en banc). When “‘two cases are

  intimately related and ‘hinge upon the same factual nucleus,’” allowing them to proceed before a


  32
     See Order Regarding Clawback Docs. at 6, In re Google Dig. Advert. Antitrust Litig., No.
  1:21-md-03010 (S.D.N.Y. Jan. 17, 2023), ECF No. 438 (ruling on the application of the
  attorney-client privilege and work product doctrine for documents bearing Bates numbers
  GOOG-DOJ-11698798, GOOG-DOJ-12866023, and GOOG-DOJ-08154428).
                                                    16
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 23 of 31 PageID# 224




  single court “facilitates efficient, economic and expeditious pre-trial proceedings and discovery.”

  U.S. Ship Mgmt., Inc. v. Maersk Line, Ltd., 357 F. Supp. 2d 924, 937-38 (E.D. Va. 2005) (citation

  omitted).

          The S.D.N.Y. Cases have been proceeding before Judge Castel for over eighteen months.

  Having established a structure for the efficient management of these cases, supra at 8-10, and

  having resolved Google’s motion to dismiss and other pretrial disputes, Judge Castel has “invested

  substantial time and energy” to become familiar with the factual and legal issues underpinning this

  case. U.S. Ship Mgmt, 357 F. Supp. 2d at 938; see also LG Elecs. Inc. v. Advance Creative Comput.

  Corp., 131 F. Supp. 2d 804, 815 (E.D. Va. 2001) (“As a matter of judicial economy, such

  familiarity is highly desirable.”).

          Even apart from the substance of the cases, Google anticipates that many of the same

  discovery disputes or procedural issues will arise—like privilege disputes on documents produced

  in both cases, see supra note 32. “[H]aving two separate decrees from two separate courts” on the

  very same issues would be “an intolerable waste of judicial effort and imposition on both courts

  when the entire issue can be resolved by the formulation of a single decree by one of the District

  Courts that will apply system-wide.” Wright v. Jackson, 505 F.2d 1229, 1232 (4th Cir. 1974).

          The Fourth Circuit counsels that “[i]t hardly husbands scarce judicial resources to allow

  separate suits stemming from the same overall controversy and involving overlapping issues to

  proceed simultaneously on parallel tracks.” Mitcheson v. Harris, 955 F.2d 235, 239 (4th Cir.

  1992). Yet that is what the DOJ’s choice of forum invites this Court to do. As a result, the interest

  of justice overwhelmingly favors transfer.

              B. The Convenience of Witnesses Favors Transfer.
          “When considering the convenience of witnesses, this court draws a distinction between

  party-witnesses and non-party witnesses and affords greater weight to the convenience of non-

                                                   17
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 24 of 31 PageID# 225




  party witnesses.” Lycos, Inc. v. TiVo, Inc., 499 F. Supp. 2d 685, 693 (E.D. Va. 2007). The

  S.D.N.Y. Cases and the DOJ Case allege monopolization of the same markets, and participants in

  those alleged markets will likely feature as third-party witnesses. Not only do “the advertising and

  publishing industry around which these actions revolve have a strong presence in New York,” In

  re: Dig. Advert. Antitrust Litig., 555 F. Supp. 3d at 1379, but discovery from Google’s display

  advertising competitors will also be critical to its defense. See id. at 1376, 1380 (acknowledging

  the “anticipated breadth of third-party discovery” and that “third party discovery will pose a[n] . . .

  obstacle to informal coordination” between courts).

           In addition to the advertising and publishing industry being present in New York, as set

  forth in the table below, three of the eight third parties specifically identified in the DOJ Complaint

  are headquartered in New York. None are headquartered in or near this district.

                Third Party                  Headquarters                  DOJ Complaint ¶¶
       Meta (Facebook)33                   Menlo Park, CA34                 172 Fig. 15, 187-95
       Amazon                                 Seattle, WA35                 172 Fig. 15, 195-96
       Xandr (AppNexus)                     New York, NY36                   172 Fig. 15, 228



  33
     Meta is a named defendant in the advertiser class complaint, see Advertiser Compl. ¶ 36.
  However, Judge Castel dismissed all claims related to the Network Bidding Agreement between
  Google and Facebook in the Texas Case, see In re Google Dig. Advert. Antitrust Litig., 2022 WL
  4226932, at *12-18. Meta has since moved to dismiss all claims against it in the S.D.N.Y.
  Cases. See Meta Mot. to Dismiss Counts III & IV of Advertisers’ Consol. Am. Compl., In re
  Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010 (S.D.N.Y. Feb. 3, 2023), ECF No. 460;
  Meta Mot. to Dismiss Newspapers’ Consol. Am. Compl., In re Google Dig. Advert. Antitrust
  Litig., No. 1:21-md-03010 (S.D.N.Y. Feb. 3, 2023), ECF No. 462.
  34
     Meta Platforms, Inc., Current Report (Form 8-K) (Jan. 27, 2023), https://www.sec.gov/ix
  ?doc=/Archives/edgar/data/0001326801/000132680123000015/meta-20230127.htm.
  35
     Amazon.com, Inc., Current Report (Form 8-K) (Jan. 5, 2023), https://www.sec.gov/ix
  ?doc=/Archives/edgar/data/1018724/000119312523003621/d441973d8k.htm.
  36
     Office Locations, Xandr (captured Dec. 1, 2022),
  https://web.archive.org/web/20221201192730/https://www.xandr.com/about/office-locations/;
  see also Xandr, LinkedIn (accessed Feb. 15, 2023), https://www.linkedin.com/company/xandr/
  (Xandr is a part of Microsoft Advertising and is located in New York).
                                                    18
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 25 of 31 PageID# 226




       Third Party                          Headquarters                  DOJ Complaint ¶¶
       OpenX                                Pasadena, CA37                172 Fig. 15, 228-29
       Magnite (Rubicon)                   New York, NY38                   172 Fig. 15, 228
       The Trade Desk                        Ventura, CA39                     172 Fig. 15
       MediaMath                           New York, NY40                      172 Fig. 15
       Criteo                               Paris, France41                    172 Fig. 15

  All of these third parties have offices in New York,42 while only Amazon has an office in

  Virginia.43 And Meta has already stated to the JPML that it prefers ad tech cases to be located in

  New York, as have other interested third parties.44



  37
     OpenX Software Ltd, Notice of Exempt Offering of Securities (Form D) (May 13, 2011),
  https://www.sec.gov/Archives/edgar/data/1520718/000152071811000001/xslFormDX01/primar
  y_doc.xml; see also OpenX Locations, OpenX (accessed Feb. 15, 2023),
  https://www.openx.com/contact-us/.
  38
     Magnite, Inc., Current Report (Form 8-K) (Jan. 19, 2023), https://www.sec.gov/ix?doc=/
  Archives/edgar/data/1595974/000159597423000002/mgni-20230119.htm.
  39
     The Trade Desk, Inc., Current Report (Form 8-K) (Nov. 9, 2022), https://www.sec.gov/ix?
  doc=/Archives/edgar/data/1671933/000115752322001565/a52963375.htm.
  40
     MediaMath, Inc., Notice of Exempt Offering of Securities (Form D) (June 3, 2014),
  https://www.sec.gov/Archives/edgar/data/1469591/000146959114000001/xslFormDX01/primar
  y_doc.xml; see also Contact Us, MediaMath (accessed Feb. 15, 2023),
  https://www.mediamath.com/contact-us/.
  41
     Criteo S.A., Current Report (Form 8-K) (Dec. 7, 2022), https://www.sec.gov/ix?doc=/
  Archives/edgar/data/1576427/000157642722000126/crto-20221207.htm.
  42
     See Offices, Meta (accessed Feb. 15, 2023), https://about.meta.com/media-gallery/offices-
  around-the-world/; Karen Weise & Matthew Haag, Amazon Sticks With Office Expansion Plans
  in New York and Elsewhere, New York Times (Aug. 18, 2020),
  https://www.nytimes.com/2020/08/18/technology/amazon-office-expansion.html; OpenX
  Locations, OpenX (accessed Feb. 15, 2023), https://www.openx.com/contact-us/; Our Offices,
  Magnite (accessed Feb. 15, 2023), https://www.magnite.com/contact-us/; Office Locations,
  theTradeDesk (accessed Feb. 15, 2023), https://www.thetradedesk.com/us/office-locations;
  Working at Criteo, Criteo (accessed Feb. 15, 2023), https://careers.criteo.com/working-at-criteo.
  43
     Corporate Offices, Amazon (accessed Feb. 15, 2023),
  https://www.aboutamazon.com/workplace/corporate-offices.
  44
     See In re: Dig. Advert. Antitrust Litig., 555 F. Supp. 3d at 1374 (“Defendant Facebook
  supports centralization of all actions in the Northern District of California, or, alternatively, the
  Southern District of New York.”); id. at 1375 (“[T]wo non-party trade organizations representing
  news entities and other online content providers—News Media Alliance and Digital Content
                                                   19
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 26 of 31 PageID# 227




          Given the cases already pending before Judge Castel, the issue is not whether the Eastern

  District of Virginia would be more or less convenient for third parties than the Southern District

  of New York. That relevant third parties will be subject to discovery in the S.D.N.Y. Cases is now

  a given. The question is whether it would be more convenient for third parties to be subjected to

  discovery once in the S.D.N.Y. Cases, or twice, in both the S.D.N.Y. Cases and this case.

  Responding to coordinated discovery in a single district once is more convenient. Consequently,

  this factor too weighs strongly in favor of transferring the DOJ Case to the Southern District of

  New York to be coordinated with the other ad tech cases before Judge Castel.45

              C. The Convenience of the Parties Favors Transfer.
          Transfer to the Southern District of New York would be more convenient for Google, and

  no less convenient for DOJ Case plaintiffs. While this district may be home to the Commonwealth

  of Virginia, the Southern District of New York is home to the State of New York, another plaintiff

  in this action, and is likely to be at least equally convenient for all other plaintiffs in the DOJ Case;

  indeed, plaintiffs Rhode Island, Connecticut, and New Jersey are all closer to the Southern District

  of New York than to this Court. And the DOJ’s Antitrust Division maintains an office in New

  York City, just blocks from Judge Castel’s courtroom.46 See also Microsemi, 2009 WL 577491,

  at *7 & n.11 (noting the Antitrust Division’s office in the transferee district and according “little

  weight to the Government’s choice of this district”).



  Next—filed interested party briefs supporting a separate publisher MDL in the Southern District
  of New York.”).
  45
     The DOJ may argue that government employees from U.S. departments and agencies in this
  district will serve as their witnesses in this proceeding. See DOJ Compl. ¶ 278. But party
  witnesses are less significant than non-party witnesses in analyzing this factor, as the government
  may “persuade its employees to appear at trial anywhere.” Microsemi, 2009 WL 577491, at *10.
  46
     See Antitrust Division Leadership, Section, and Office Directory, U.S. Dep’t of Justice
  (accessed Feb. 15, 2023), https://www.justice.gov/atr/antitrust-division-leadership-section-and-
  office-directory#sections.
                                                     20
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 27 of 31 PageID# 228




         While convenience of the parties is afforded less weight than convenience of third parties,

  courts nonetheless consider the parties’ convenience, particularly when—as here—only one out of

  a number of plaintiffs resides in the district. See Newbauer v. Jackson-Hewitt Tax Serv., Inc., 2019

  WL 1398172, at *13 (E.D. Va. Mar. 28, 2019) (finding that this factor favored transfer where

  “only one of the plaintiffs resides in the Eastern District of Virginia”); Hoefer v. U.S. Dep’t of

  Commerce, 2000 WL 890862, at *2 (N.D. Cal. June 28, 2000) (finding that this factor favored

  transfer where only one of several plaintiffs resided in the transferor district).

          The Southern District of New York is clearly more convenient for Google. Outside of its

  Mountain View, California headquarters, Google’s second-largest corporate presence is in New

  York (where much of its ad tech business is located), in stark contrast to its much smaller presence

  in Virginia. Reshetar Decl. ¶¶ 3-5. Many witnesses who will likely be able to speak to the common

  issues presented by the DOJ Case and the S.D.N.Y. Cases are located in New York. Indeed, eight

  of the twenty-eight individuals that Google disclosed in the S.D.N.Y. Case—and thirty-nine of the

  157 current or former Google employees that S.D.N.Y. plaintiffs disclosed—are (or were last)

  based in New York, and none are (or were last) based in Virginia. Reshetar Decl. ¶¶ 6-7. New

  York is also where Judge Castel is supervising all of the S.D.N.Y. Cases, which claim substantially

  the same harm based on substantially the same allegations. Supra at 10-12, 14-15. Parallel

  proceedings threaten the prospect that Google will face conflicting case schedules (in addition to

  inconsistent judgments) and duplicative discovery, and increase the unjustified disruption that the

  lawsuits will cause to its business. Reshetar Decl. ¶ 8.

         Because the Southern District of New York is more convenient for Google and equally

  convenient for the DOJ Case plaintiffs, this factor favors transfer. See Coors Brewing Co. v. Oak

  Beverage, Inc., 549 F. Supp. 2d 764, 773 (E.D. Va. 2008) (granting transfer where “[t]ransfer



                                                    21
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 28 of 31 PageID# 229




  would not ‘shift the balance of inconvenience’ from Defendants to Plaintiff but only increase the

  convenience for Defendants” without effect on plaintiffs’ convenience); see also Agilent Techs.,

  316 F. Supp. 2d at 328-29 (finding that party convenience favored transfer where the transferee

  forum was more convenient for the defendant and equally convenient for the plaintiff).

             D. The DOJ’s Choice of Forum Should Be Afforded Only Limited Weight.
         The DOJ Case does not have any meaningful connection to this forum. In its 343 paragraph

  Complaint spanning 140 pages, the DOJ only mentions Virginia to list it as a plaintiff, see DOJ

  Compl. ¶ 305, to assert jurisdiction and venue in this District, id. ¶ 307, and to allege that certain

  “departments and agencies” in this district, among others elsewhere, have been injured, id. ¶ 278.

  But “courts are not solicitous of plaintiffs claiming substantial weight for their forum choice where

  the connection with the forum is limited to sales activity without more,” particularly where, as

  here, sales are also “nationwide.” Original Creatine Pat. Co. v. Met-Rx USA, Inc., 387 F. Supp.

  2d 564, 568 (E.D. Va. 2005); see also Palaxar Grp., LLC v. Williams, 2014 WL 2002214, at *5-7

  (E.D. Va. May 14, 2014) (granting transfer despite injury in the transferor district when a similar

  case was pending in the transferee district).

         Had the DOJ chosen to file suit in a forum with a meaningful connection to this dispute,

  then its decision to do so might bear slightly more on the transfer analysis.47 But “[t]his Court

  [should not] stand as a willing repository for cases which have no real nexus to this district.”

  Moore v. Sirounian, 2020 WL 5791090, at *5 (E.D. Va. July 20, 2020) (Brinkema, J.) (citations

  omitted). And so the DOJ’s choice of venue is not entitled to substantial deference “when the

  controversy itself had no meaningful ties to that forum.” Microsemi, 2009 WL 577491, at *7.



  47
    The DOJ’s investigation of these issues was—as far as Google is aware—run out of its District
  of Columbia and San Francisco offices. The DOJ has declined to proceed in either of those
  home fora.
                                                   22
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 29 of 31 PageID# 230




  Indeed, “allowing lawsuits with such a minimal connection to the district to go forward here would

  result in docket overloads, unfairly slowing the cases for parties with genuine connections to this

  district.” Pragmatus, 769 F. Supp. 2d at 997.

          In the absence of any real nexus to this forum, this factor in the transfer analysis can be

  accorded little weight. That is especially so when, as set forth above, all of the other factors favor

  transfer. See U.S. Ship Mgmt., 357 F. Supp. 2d at 937 (“[T]he presumption favoring plaintiff's

  chosen forum should be accorded little weight if the other factors favor transfer.”).

       II. Google Is Not Seeking Consolidation Under 28 U.S.C. § 1407.

          For the avoidance of doubt, Google is not seeking consolidation under the MDL statute,

  28 U.S.C. § 1407. Since 1968, the DOJ has been statutorily immune from consolidation by the

  JPML.48 In recent weeks, Congress has amended that statute to afford the states that same

  immunity in future antitrust cases.49 But the federal government—and the states—have always

  been subject to transfer when the criteria of 28 U.S.C. § 1404 are met. United States v. Nat’l City

  Lines, Inc., 337 U.S. 78, 83-84 (1949) (holding that § 1404(a) applies to antitrust suits and

  affirming grant of transfer of antitrust suit brought by the United States); Cephalon, 551 F. Supp.

  2d at 32 (granting transfer of FTC antitrust action under § 1404, noting “the question of

  multidistrict transfer and consolidation is simply not before this Court”); Microsemi, 2009 WL

  577491 (granting motion to transfer antitrust suit brought by DOJ under § 1404(a)); F.T.C. v.

  Illumina, Inc., 2021 WL 1546542 (D.D.C. Apr. 20, 2021) (granting motion to transfer antitrust

  suit brought by the FTC under § 1404(a)); see also Ex parte Collett, 337 U.S. 55, 58 (1949) (“The




  48
     Act of April 29, 1968, Pub. L. No. 90-296, 82 Stat. 109 (codified as amended at 28 U.S.C.
  § 1407) (providing for consolidated pretrial purposes in multidistrict litigation).
  49
     See Consolidated Appropriations Act, 2023, Pub. L. No. 117-328, § 301, 136 Stat. 4459, 5970
  (2023).
                                                   23
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 30 of 31 PageID# 231




  reach of ‘any civil action’ [under 28 U.S.C. § 1404(a)] is unmistakable. The phrase is used without

  qualification, without hint that some should be excluded.”).

         Transfer under § 1404(a) may be ordered even when, as here, consolidation would not be

  possible. See A. J. Indus., Inc. v. U.S. Dist. Ct., 503 F.2d 384, 389 (9th Cir. 1974) (“To hold that

  the pendency of an action between the parties in another district could not be considered unless

  the action could be consolidated would unnecessarily limit the factors that should be considered

  in making a transfer determination.”); Cephalon, 551 F. Supp. 2d at 32 (granting transfer despite

  FTC’s argument that it was exempt from consolidation, noting: “The short answer to FTC’s

  contention is that consolidation is not the sole efficiency associated with transferring this case. In

  fact, the most compelling reason to grant this transfer—the need to avoid the risk of inconsistent

  judgments—is entirely independent from the prospect of consolidation.”).

         Even the most recent amendments to § 1407 made no changes to § 1404. See Consolidated

  Appropriations Act § 301. Section 1404(a) has always applied and continues to apply to federal

  and state antitrust suits. See, e.g., F.T.C. v. Watson Pharm., Inc., 611 F. Supp. 2d 1081 (C.D. Cal.

  2009) (granting motion to transfer antitrust suit brought by the FTC and the State of California

  under § 1404(a)); In re Mid-Atl. Toyota Antitrust Litig., 1982 WL 1797 (D. Md. Jan. 18, 1982)

  (granting motion to transfer antitrust case brought by the District of Columbia under § 1404(a)).

                                            CONCLUSION

         The analysis under § 1404(a) overwhelmingly favors transfer. The DOJ has sued in a

  district with no unique nexus to the alleged conduct. Remaining in this district would risk

  inconsistent judgments, waste judicial resources, and cause inconvenience to Google and third-

  party witnesses. Google respectfully requests that this Court grant its motion to transfer venue to

  the Southern District of New York.



                                                   24
Case 1:23-cv-00108-LMB-JFA Document 44-2 Filed 02/17/23 Page 31 of 31 PageID# 232




   Dated: February 17, 2023                 Respectfully Submitted,


                                             /s/ Tyler Garrett
                                            Eric Mahr (pro hac vice)
                                            Tyler Garrett, Virginia Bar No. 94759
                                            FRESHFIELDS BRUCKHAUS
                                            DERINGER US LLP
                                            700 13th Street NW, 10th Floor
                                            Washington, DC 20005
                                            Telephone: (202) 777-4500
                                            Facsimile: (202) 777-4555
                                            eric.mahr@freshfields.com
                                            tyler.garrett@freshfields.com

                                            Counsel for Defendant Google LLC




                                       25
